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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  No. 4:04CR00281-01 JLH

NELSON MILLER

                                             ORDER

       For the reasons stated from the bench during the pretrial hearing today, Nelson Miller’s

motion in limine is DENIED, the Government’s motions in limine are DENIED, and Nelson Miller’s

motion to correct the docket information pertaining to Freedom Financial of Arkansas, Inc., is

GRANTED. Documents #231, #245, and #246. The Clerk is directed to remove Freedom Financial

Services of Arkansas, Inc., from the caption of this case.

       IT IS SO ORDERED this 26th day of October, 2007.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
